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                      EXHIBIT A

                Revised Proposed Order
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                                     Chapter 11

    Prime Core Technologies Inc., et al.,                                      Case No. 23-11161 (JKS)

                                                 Debtors.1                     (Jointly Administered)

                                                                               Re: Docket No. 325, 326, 374, 376,
                                                                                      382 & 384


                 ORDER DIRECTING WITNESS TO (I) SIT FOR A RULE 2004
              EXAMINATION AND (II) PRODUCE DOCUMENTS IN RESPONSE TO
                                RULE 2004 REQUESTS

             Upon the Debtors’ Motion for Entry of an Order Directing Witness to (I) Sit for a Rule

    2004 Examination, (II) Produce Documents, and (III) Provide Sworn Interrogatory Responses

    (the “Motion”);2 and having considered the First Day Declaration and the Evans Declaration; and

    having considered the objections to the Motion filed by Party 1; and in consideration of the

    arguments put forth at the hearing on the Motion (the “Hearing”); and this Court having

    jurisdiction to decide the Motion and the relief requested therein pursuant to 28 U.S.C.

    §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference from the United States

    District Court for the District of Delaware, dated February 29, 2012; and upon consideration of the

    Motion; and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and

    venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and finding that

    adequate notice of the Motion having been given; and it appearing that no other or further notice

    need be given; and the Court finding that a Bankruptcy Rule 2004 examination of Party 1 is


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
     are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436); and Prime Digital, LLC
     (4528). The Debtors’ service address is 10845 Griffith Peak Drive, #03-153, Las Vegas, NV 89135.
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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appropriate for the reasons set forth in the Motion and the arguments presented at the Hearing; and

that the time for compliance with the Revised Rule 2004 Requests is reasonable; and after due

deliberation and sufficient cause appearing therefore; it is hereby ORDERED THAT:

       1.      The Motion is GRANTED to the extent set forth herein.

       2.      Party 1 shall: (i) respond to the Revised Rule 2004 Requests, which are attached

hereto as Exhibit 1, and produce documents in connection therewith, on or before

December 1, 2023, and (ii) make Party 1 available to sit for a Bankruptcy Rule 2004 examination

on or before January 5, 2024, which examination shall be conducted via Zoom.

       3.      Debtors’ rights are reserved to request of Party 1 additional discovery and/or an

additional examination, including, without limitation, reasonable requests based on any

information that may be revealed as a result of the discovery authorized pursuant to this Order,

without prejudice to the rights of Party 1 to challenge the reasonableness of such requests.

       4.      This Order is without prejudice to the right of Debtors to seek further discovery of

any other entity.

       5.      The terms and conditions of this Order shall be effective immediately and

enforceable upon its entry.

       6.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.




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